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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

FEDERAL TRADE COMMISSION,
                                              Case No. 2:22-cv-11120
              Plaintiff,
                                              Hon. Bernard A. Friedman
            v.

FINANCIAL EDUCATION
SERVICES, INC., et al.,

                 Defendants.

  STIPULATED ORDER CONTINUING PRELIMINARY INJNCTION
 HEARING AND CONTINUING TEMPORARY RESTRAINING ORDER


      This cause is before the Court on the stipulated motion of the parties to

   continue until the week of June 27, 2022, the preliminary injunction hearing

   currently scheduled for June 3, 2022, at 10:30 a.m., and to continue the

   Temporary Restraining Order entered in this case. Upon consideration of the

   parties’ motion and finding good causes exists therefor, the Court hereby

   GRANTS the parties’ motion.

      IT IS THEREFORE ORDERED that Defendants shall appear on:

   Thursday, June 30, 2022, at 11:00 a.m. in Courtroom 110 of the United

   States District Court, Eastern District of Michigan, 231 W. Lafayette Blvd.,

   Detroit, Michigan, to show cause, if any there be, why this Court should not

   enter a preliminary injunction and order preliminary relief against Defendants,


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   pursuant to Rule 65 of the Federal Rules of Civil Procedure, extending the

   temporary relief granted in the Temporary Restraining Order entered on May

   24, 2022 (ECF No. 10, PageID.2235) pending a final adjudication on the merits.

      IT IS FURTHER ORDERED that unless modified by further order of this

   Court, the Temporary Restraining Order entered on May 24, 2022 (ECF No. 10,

   PageID.2235) shall continue in full force and effect as to all Defendants.



IT IS SO ORDERED.

                                          s/Bernard A. Friedman
Dated: June 2, 2022                       Bernard A. Friedman
       Detroit, Michigan                  Senior United States District Judge




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